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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON
                                     PORTLAND DIVISION


VAN LOO FIDUCIARY SERVICES LLC,                         3:24-cv-00430-IM
an Oregon Limited Liability Corporation,
as personal representative of the estate of,
IMMANUEAL JAQUEZ CLARK,                                 NOTICE OF ASSOCIATION
deceased                                                OF COUNSEL

                 Plaintiff,

        v.

CITY OF PORTLAND, a municipal
corporation, and CHRISTOPHER
SATHOFF

                 Defendant.
        NOTICE IS HEREBY GIVEN that Michael K. Porter, OSB #211377, Senior Deputy City

Attorney, is hereby associated as an attorney of record for Defendant City of Portland in the above-

entitled case.

        DATED: January 7, 2025.

                                                      Respectfully submitted,

                                    /s/ Michael K. Porter
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Page 1 – NOTICE OF ASSOCIATION OF COUNSEL

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